Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 1 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 2 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 3 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 4 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 5 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 6 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 7 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 8 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document      Page 9 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document     Page 10 of 11
Case 24-13442-CMG   Doc 4    Filed 04/03/24 Entered 04/03/24 11:21:35   Desc Main
                            Document     Page 11 of 11
